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                                                                                   C-821-825
                                                                                      Remand
                                                                              Slip Op. 22-103
                                                                 POI: 01/01/2019 – 12/31/2019
                                                PUBLIC VERSION PROPRIETARY DOCUMENT
                                                                           E&C/OVIII: Team

     The Mosaic Company, Phosagro PJSC, JSC Apatit, Industrial Group Phosphorite LLC v.
       United States, The Mosaic Company, Phosagro PSJC, JSC Apatit, Industrial Group
                                       Phosphorite LLC,
                      Consol. Court No. 21-00117 (CIT September 2, 2022)
                       Phosphate Fertilizers from the Russian Federation

                           FINAL RESULTS OF REDETERMINATION
                               PURSUANT TO COURT REMAND

I.       SUMMARY

         The U.S. Department of Commerce (Commerce) has prepared these final results of

redetermination pursuant to the remand order of the U.S. Court of International Trade (CIT) in

The Mosaic Company, et al v. United States, Consol. Court No. 21-00117, Slip Op. 22-103 (CIT

September 2, 2022) (Remand Order). These final results of redetermination concern the Final

Determination of the investigation for the countervailing duty (CVD) order on phosphate

fertilizers from the Russian Federation (Russia). 1 In its Remand Order, the CIT directed

Commerce to: (1) adjust the final total sales calculation for Industrial Group Phosphorite LLC

(Phosphorite) 2 to the proper figures and explain the calculation; (2) either remove the added

value-added tax (VAT) and import duties from the natural gas benchmark price or offer further


1
  See Phosphate Fertilizers from the Russian Federation: Final Affirmative Countervailing Duty Determination, 86
FR 9479 (February 16, 2021) (Final Determination), and accompanying Issues and Decision Memorandum (IDM);
see also Phosphate Fertilizers from the Kingdom of Morocco and the Russian Federation: Countervailing Duty
Orders, 86 FR 18037 (April 7, 2021).
2
  Commerce found the following companies to be cross-owned with Phosphorite in the Final Determination:
Mineral and Chemical Company EuroChem, JSC (MCC EuroChem); NAK Azot, JSC (NAK Azot); EuroChem
Northwest, JSC (EuroChem NW); Joint Stock Company Kovdorksy GOK (KGOK); EuroChem-Energo, LLC
(Energo); EuroChem-Usolsky Potash Complex, LLC (UKK); EuroChem-BMU, LLC (BMU); JSC Nevinnomyssky
Azot (Nevinka); and EuroChem Trading Rus, LLC (Trading Rus). See Final Determination, 87 FR at 9480. Unless
otherwise specified, Commerce has collectively referred to these companies as “EuroChem” in these final results of
redetermination.
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explanation for why, when tier one and tier two benchmark prices are rejected, it is reasonable to

add additional VAT and import duties; and (3) either explain why Commerce is unable to

countervail recurring subsidies from mining licenses granted by the Government of Russia

(GOR) prior to Russia’s designation as a market economy on April 1, 2002, or abandon the cut-

off date methodology. 3

        On November 18, 2022, Commerce released its Draft Results of Redetermination on the

three issues identified above. 4 On November 30, 2022, The Mosaic Company (the petitioner),

EuroChem, and PhosAgro submitted timely comments on the Draft Results of Redetermination. 5

        As set forth in detail below, pursuant to the CIT’s Remand Order, we have adjusted the

final total sales calculation to the proper figures and explained the calculation further, removed

the added VAT and import duties from the natural gas benchmark price, and revised our subsidy

calculation for the Provision of Mining Rights for Less Than Adequate Remuneration (LTAR)

program by countervailing recurring subsidies from mining licenses granted by the GOR prior to

Russia’s designation as a market economy on April 1, 2002. Consequently, for the purposes of

these final results of redetermination on remand, Commerce has made changes to both

EuroChem’s and Joint Stock Company Apatit’s 6 (JSC Apatit) final subsidy rates from the


3
  See Remand Order at 33-34, 39, and 41.
4
  See Draft Results of Redetermination Pursuant to Court Remand, The Mosaic Company, Phosagro PJSC, JSC
Apatit, Industrial Group Phosphorite LLC v. United States, The Mosaic Company, Phosagro PSJC, JSC Apatit,
Industrial Group Phosphorite LLC, Consol. Court No. 21-00117, Slip Op. 22-103 (CIT September 2, 2022), dated
November 18, 2022 (Draft Results of Redetermination).
5
  See Petitioner’s Letter, “Petitioner’s Comments on Draft Results of Redetermination Pursuant to Court Remand,”
dated November 30, 2022 (Petitioner’s Draft Remand Comments); EuroChem’s Letter, “Comments on Draft
Remand Redetermination,” dated November 30, 2022 (EuroChem’s Draft Remand Comments); and PhosAgro’s
Letter, “PhosAgro PJSC’s Comments on Commerce’s Draft Results of Redetermination,” dated November 30, 2022
(PhosAgro’s Draft Remand Comments).
6
  Commerce found the following companies to be cross-owned with JSC Apatit in the Final Determination:
PhosAgro PJSC; PhosAgro‐Belgorod LLC; PhosAgro‐Don LLC; PhosAgro‐Kuban LLC; PhosAgro‐Kursk LLC;
PhosAgro‐Lipetsk LLC; PhosAgro‐Orel LLC; PhosAgro‐Stavropol LLC; PhosAgro‐Volga LLC; PhosAgro‐
SeveroZapad LLC; PhosAgro‐ Tambov LLC; and Martynovsk AgrokhimSnab LLC. See Final Determination, 87
FR at 9480. Unless otherwise specified, Commerce has collectively referred to these companies as “PhosAgro” in
these final results of redetermination.


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investigation, as well as the all-others rate. 7 We have also addressed comments from interested

parties in the “Interested Party Comments” section below.

II. BACKGROUND

        A. Calculation of Total Sales of EuroChem

        In the investigation, Commerce explained that it calculated total sales by combining all

sales by EuroChem’s cross-owned subject merchandise producers and input suppliers, less the

intercompany sales among the eight subject merchandise producers and input suppliers, as

required by 19 CFR 351.525(b)(6)(ii) and (iv). 8 Commerce also confirmed that: (1) MCC

EuroChem and Trading Rus did not receive subsidies; and (2) sales by Trading Rus should not

be included in the subsidy rate calculations. 9 The CIT took no issue with Commerce’s asserted

methodology. 10

        However, Commerce’s calculations did not reflect this methodology. In the calculation

of intercompany sales, Commerce wrongly relied on a number provided by EuroChem that did

not include sales from the eight subject merchandise producers and input suppliers to Trading

Rus. 11 The calculations failed to follow Commerce’s stated methodology and artificially

increased the ad valorem rate by excluding the sales to Trading Rus from the total sales figures.

In a letter to the CIT, Commerce confirmed this error. 12 The CIT thus remanded this issue for

Commerce to provide a correct total sales number and explanation of its calculation.




7
  See Final Determination, 87 FR at 9480.
8
  See Phosphate Fertilizers from the Russian Federation: Preliminary Affirmative Countervailing Duty
Determination, 85 FR 76524 (November 30, 2020) (Preliminary Determination), and accompanying Preliminary
Decision Memorandum (PDM) at 5-6.
9
  Id.
10
   See Remand Order at 33.
11
   See Final Determination IDM at 8 (citing EuroChem’s Letter, “Phosphate Fertilizers from Russia,” dated
December 7, 2020 (EuroChem’s December 7, 2020 SQR)).
12
   See Remand Order at 33.


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         B. Calculation of the Tier Three Natural Gas Benchmark

         In the Final Determination, Commerce determined that a tier three benchmark pursuant

to 19 CFR 351.511(a)(2)(iii) was appropriate to measure the adequacy of remuneration under the

Provision of Natural Gas for LTAR program during the period of investigation (POI). 13 To

determine the adequacy of remuneration under 19 CFR 351.511(a)(2)(i) and (a)(2)(ii),

Commerce includes delivery charges and import duties in the benchmark price to reflect the

price that a firm actually paid or would pay if it imported the product (i.e., a “delivered” price). 14

To ensure that the quarterly benchmark prices in the International Energy Agency (IEA) data

reflected what the respondents would have paid if they had imported natural gas directly,

Commerce adjusted the average prices by adding the delivery charges for the transmission and

distribution of natural gas in Russia, any import duties and taxes, and surcharges. 15 In addition,

because the GOR reported that imports of natural gas into Russia would be subject to a 20

percent VAT and five percent import duty, Commerce added these amounts to the monthly

benchmark prices to reflect the price that a firm would pay if it imported the product into

Russia. 16

         The CIT sustained Commerce’s decision not to use a tier one benchmark, and it held that

Commerce’s use of a tier three benchmark, which relied on IEA data, was supported by

substantial evidence. 17 However, the CIT concluded that Commerce may have erred in adjusting

the benchmark price by adding the 20 percent VAT and five percent import duty. 18 The CIT

expressed two concerns: (1) Commerce’s adjustment of the tier three benchmark appears to rely


13
   See Final Determination IDM at Comment 3i.
14
   See 19 CFR 351.511(a)(2)(iv); see also, e.g., Beijing Tianhai Industry Co., Ltd. v. United States, Slip Op. 15-14
(CIT February 6, 2015), at 36-37.
15
   See Final Determination IDM at Comment 3j.
16
   Id.
17
   See Remand Order at 21 and 24.
18
   Id. at 25.


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on the regulation pertaining to tier one or tier two benchmarks, and there appears to be no reason

to treat the hypothetical tier three market price as an import price; and (2) the IEA benchmark

price already included the European export VAT, and by adding the import costs, Commerce

may have double counted VAT for the benchmark. 19 The CIT remanded for “Commerce to

remove the added VAT and import duties from the benchmark price or offer further explanation

why, when tier one and tier two are rejected, it is reasonable to add additional VAT and import

duties and why there is not double counting, particularly based on this record.” 20

        C. The Provision of Mining Rights for LTAR

        Consistent with Cold-Rolled Steel from Russia, Commerce determined in the

investigation that it could not measure subsidies in the Russian economy before April 1, 2002,

the date on which Russia was designated a market economy. 21 Commerce reasoned that the

application of a cut-off date was appropriate to identify and measure subsidies from non-market

economy countries for purposes of the CVD law. 22 In the case of Russia, applying a cut-off date

for when the country was recognized to have transitioned to a market economy reflected the fact

that its economy had undergone changes and reforms that could permit Commerce to determine

whether and to what extent countervailable subsidies were being bestowed on Russian

producers. 23




19
   Id. at 25-26.
20
   Id. at 26.
21
   See Final Determination IDM at Comment 2d (citing Countervailing Duty Investigation of Certain Cold-Rolled
Steel Flat Products from the Russian Federation: Final Affirmative Countervailing Duty Determination and Final
Negative Critical Circumstances Determination, 81 FR 49935 (July 29, 2016) (Cold-Rolled Steel from Russia), and
accompanying IDM at 24).
22
   See Final Determination IDM at Comment 2d.
23
   Id.


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        For the Provision of Mining Rights for LTAR program, the record demonstrated that the

GOR granted mining licenses both prior to and after the cut-off date. 24 PhosAgro reported that it

did not extract phosphate rock during the POI from two deposits for which it acquired licenses

after 2002. 25 On this basis, Commerce determined that PhosAgro did not use the program during

the POI. 26 By contrast, EuroChem reported that it obtained four mining licenses from the GOR,

two of which were obtained after the “cut-off” date. 27 Commerce analyzed the countervailability

of the two mining licenses issued after the “cut-off” date under which EuroChem mined

phosphate during the POI. 28 In the Final Determination, Commerce determined that EuroChem

received no measurable benefit under the program during the POI. 29

        In the Remand Order, the CIT rejected Commerce’s decision not to countervail benefits

from mining rights provided to PhosAgro and EuroChem prior to 2002. 30 The CIT concluded

that Commerce’s cut-off methodology was inapplicable to the facts of this case, as Commerce

can identify and measure subsidies from all mining rights using the same methodology used with

respect to KGOK. 31 Additionally, the CIT held that Commerce failed to provide substantial

evidence supporting its decision to treat the date of Russia’s market economy designation as a

cut-off for CVD law applicability. 32 In the Remand Order, the CIT instructed Commerce to

either abandon its cut-off date methodology or explain why it is unable to countervail recurring

subsidies from licenses granted by the GOR prior to Russia’s designation as a market


24
   Id.; see also Preliminary Determination PDM at 34; Memorandum, “Decision Memorandum for the Post-
Preliminary Analysis of the Countervailing Duty Investigation of Phosphate Fertilizers from the Russian
Federation,” dated December 21, 2020 (Post-Preliminary Analysis Decision Memorandum), at 4.
25
   See Preliminary Determination PDM at 34; see also Post-Preliminary Analysis Decision Memorandum at 4.
26
   Id.
27
   Id.
28
   See Post-Preliminary Analysis Decision Memorandum at 4-8.
29
   See Final Determination IDM at 10.
30
   See Remand Order at 39.
31
   Id.
32
   Id.


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economy. 33 Noting that Commerce had calculated the benefit that KGOK received from its only

active mining license granted after the cut-off date as a recurring subsidy, the CIT reasoned that

Commerce could similarly identify and measure subsidies from all mining licenses in this way,

regardless of whether the licenses were granted prior to its cut-off date. 34

III.    ANALYSIS

        A. Calculation of Total Sales of EuroChem

        In light of the CIT’s Remand Order, Commerce has relied on EuroChem’s post-

preliminary determination questionnaire response and added the sales of each responding cross-

owned company to Trading Rus back into the EuroChem companies’ total sales for 2019. 35

        As an initial matter, EuroChem reported that Trading Rus is an export trading company

that sells phosphate fertilizers. 36 Under 19 CFR 351.525(c),

        benefits from subsidies provided to a trading company which exports subject
        merchandise shall be cumulated with benefits from subsidies provided to the firm
        which is producing subject merchandise that is sold through the trading company,
        regardless of whether the trading company and the producing firm are affiliated.

Because EuroChem reported that Trading Rus did not receive any subsidies during the POI or

average useful life period, 37 there was no reason to include Trading Rus’s sales in any subsidy

calculation, and this methodology was affirmed by the CIT.

        However, as noted above and in a letter to the CIT, certain sales from Phosphorite and its

affiliates to Trading Rus were excluded from the total sales denominator. On December 7, 2020,

EuroChem reported its sales denominators in a supplemental questionnaire, where it included



33
   Id.
34
   Id. at 37-38.
35
   See EuroChem’s December 7, 2020 SQR at Exhibit 1.
36
   See Preliminary Determination PDM at 6 (citing EuroChem’s Letter, “Phosphate Fertilizers from Russian
Federation,” dated August 18, 2020 (EuroChem’s Affiliation QR), at 7).
37
   See Preliminary Determination PDM at 6 (citing generally EuroChem’s Letter, “Phosphate Fertilizers from
Russian Federation,” dated September 24, 2020).


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sales figures for all EuroChem affiliates involved in the production and sale of subject

merchandise, as well as sales figures for Trading Rus. 38 In Exhibit 3 of this submission,

EuroChem provided “a summary of the sales made to each of the affiliates and reclassifie{d}

these sales into cross-owned and not cross-owned.” 39 EuroChem also stated that “{o}nly sales

made to other cross-owned companies should be eliminated to avoid double counting as to the

cross-owned company sales.” 40 In Exhibit 4 of this submission, EuroChem provided a summary

of the total sales to each of the ten cross-owned companies, and it deducted only the sales made

to these ten companies. 41

        In calculating subsidy rates for the Final Determination, Commerce used a value reported

by EuroChem as being exclusive of intercompany sales as the total sales denominator. 42

However, EuroChem’s submitted sales values removed not only sales between various cross-

owned affiliates (intercompany sales), but also sales to Trading Rus, which is a trading company

— not a producer of subject merchandise or an input supplier. In reporting these sales figures,

EuroChem incorrectly treated Trading Rus the same as each of its other cross-owned affiliates,

rather than as a trading company under 19 CFR 351.525(c). While the sales denominator used in

the calculation of the subsidy rate normally would include sales by Phosphorite and its cross-

owned affiliates, including those to Trading Rus, Commerce did not realize that EuroChem’s

reported sales values had excluded sales to Trading Rus. Rather, Commerce relied on the total

“sales” that Phosphorite reported in Exhibit 4 of its December 7, 2020, supplemental




38
   See EuroChem’s December 7, 2020 SQR at Exhibit 3.
39
   Id. at 2 and Exhibit 3.
40
   Id. at 2.
41
   Id. at 2 and Exhibit 4.
42
   See Final Determination IDM at 8; see also EuroChem’s December 7, 2020 SQR at 2 and Exhibits 3 and 4.


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questionnaire response, which did not include sales to Trading Rus. 43 Thus, the sales by

Phosphorite and its cross-owned affiliates to Trading Rus were excluded from the denominator.

        Under 19 CFR 351.525, “Commerce calculates an ad valorem subsidy rate by dividing

the amount of the benefit allocated to the period of investigation . . . by the sales value during the

same period of the product or products to which Commerce attributes the subsidy.” 44 Commerce

normally attributes a subsidy to the products produced by the company that received the

subsidy. 45 “However, if two or more corporations are cross-owned, Commerce’s regulations

provide a number of exceptions to its default attribution rule.” 46 Further, 19 CFR 351.525(c)

provides that “{b}enefits from subsidies provided to a trading company which exports subject

merchandise shall be cumulated with benefits from subsidies provided to the firm which is

producing subject merchandise that is sold through the trading company, regardless of whether

the trading company and the producing firm are affiliated.” 47

        During the investigation, Phosphorite reported that its cross-owned affiliates BMU and

Nevinka are producers of phosphate fertilizers. 48 Further, Phosphorite also received various

inputs from several cross-owned affiliates to produce subject merchandise: ammonia and nitric

acid from NAK Azot, ammonia from EuroChem NW, phosphate rock from KGOK, and energy

from Energo. 49 In addition, EuroChem reported that UKK supplied potash inputs for phosphate

fertilizer production to BMU and Nevinka. 50 Pursuant to 19 CFR 351.525(b)(6)(iv), Commerce


43
   See EuroChem’s December 7, 2020 SQR at Exhibit 4.
44
   See TMK IPSCO v. United States, 222 F. Supp. 3d 1306, 1322 (CIT May 3, 2017) (TMK IPSCO) (citing 19 CFR
351.525(a) (internal brackets omitted)).
45
   See 19 CFR 351.525(b)(6)(i).
46
   See TMK IPSCO, 222 F. Supp. 3d at 1322; see also 19 CFR 351.525(b)(6)(ii)-(v); see also Preliminary
Determination PDM at 4.
47
   See 19 CFR 351.525(c); see also Preliminary Determination PDM at 4.
48
   See Preliminary Determination PDM at 5; see also EuroChem’s Affiliation QR at 7.
49
   See Preliminary Determination PDM at 6; see also EuroChem’s Affiliation QR at 3.
50
   See Preliminary Determination PDM at 6; see also EuroChem’s Letter, “Phosphate Fertilizers from Russian
Federation,” dated August 28, 2020, at 1-2.


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attributes benefits to the combined sales of the input and downstream products produced by both

corporations, excluding the sales between the two corporations. Accordingly, Commerce

attributed subsidies received by the cross-owned input suppliers to their total sales plus the

combined total sales of Phosphorite, BMU, and Nevinka, net of intercompany sales. 51

        As noted above, the proper sales denominator for purposes of the subsidy rate

calculations is these companies’ total sales, net of intercompany sales. Removing sales to

Trading Rus was inappropriate given its status as a trading company that received no subsidies

and was not otherwise involved in the subsidy calculations. Therefore, for purposes of these

final results of redetermination, Commerce has relied on EuroChem’s questionnaire responses

and added the sales by each cross-owned affiliated company to Trading Rus back into

EuroChem’s total sales for 2019. This results in an increase in the total sales used as the

denominator in Commerce’s calculations. Accordingly, this change has required Commerce to

recalculate the subsidy rates for each program in the proceeding for EuroChem. 52

        B. Calculation of the Tier Three Natural Gas Benchmark

        We note as an initial matter that the regulations, at 19 CFR 351.511(a)(2)(iii), provide

that in situations where “there is no world market price available to purchasers in the country in

question, {Commerce} will normally measure the adequacy of remuneration by assessing

whether the government price is consistent with market principles.” However, the regulations do

not prescribe a specific methodology that Commerce is to follow in such situations. 53 In fact,


51
   See Preliminary Determination PDM at 6; see also Memorandum, “Post-Preliminary Determination Calculations
for EuroChem Group,” dated December 21, 2020, at 2; and Final Determination IDM at 59.
52
   See Memorandum, “Draft Remand Redetermination Calculations for EuroChem Group,” dated November 18,
2022 (EuroChem Draft Remand Calculation Memorandum). For these final results of redetermination, EuroChem’s
subsidy rates remain unchanged from the Draft Results of Redetermination. Thus, for these final results of
redetermination, we have not issued a separate calculation memorandum for EuroChem.
53
   See Preliminary Determination PDM at 17 (citing Certain Uncoated Paper from Indonesia: Final Affirmative
Countervailing Duty Determination, 81 FR 3104 (January 20, 2016), and accompanying IDM, at 15-16 (“Provision



                                                    10
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different methodologies may be appropriate to fit specific fact patterns and circumstances, as is

demonstrated in Commerce’s practice in applying tier three benchmarks. The statute also does

not prescribe a specific methodology, only stating that a benefit exists to the extent that goods or

services are provided for LTAR, and that “the adequacy of remuneration shall be determined in

relation to prevailing market conditions for the good or service being provided or the goods

being purchased in the country which is subject to the investigation or review,” which could

“include price, quality, availability, marketability, transportation, and other conditions of

purchase or sale.” 54

        In this case, we determined to use a proxy for a market-determined price as a benchmark

in the form of European Organization for Economic Cooperation and Development export prices

from the IEA. 55 Given that we are using world market prices as a proxy market-based price,

Commerce continues to find that it would be appropriate to include VAT and import duties that

would be conditions of sale were the respondents to import such natural gas. 56 However, while

the statute and regulations give Commerce significant discretion in how to conduct a tier three

analysis, and while we believe in theory (consistent with the statute) it is appropriate to have

added Russian VAT and import duties to the benchmark, we recognize, and the CIT noted, that

the benchmark IEA data are already inclusive of European export VAT and other taxes. 57

Therefore, to comply with the CIT’s Remand Order and avoid the possibility of double counting

given that the data are already inclusive of VAT and other taxes, we have removed the Russian




of Standing Timber for Less Than Adequate Remuneration”) (where Commerce found that the government price
was not set in accordance with market principles, and thus sought a proxy to determine a market-based stumpage
benchmark)).
54
   See section 771(5)(E)(iv) of the Tariff Act of 1930, as amended (the Act).
55
   See Final Determination IDM at Comment 3i.
56
   Id. at Comment 3j.
57
   See Remand Order at 25.


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VAT and import duties from the benchmark in this instance. 58 For the calculation of revised

subsidy rates for the Provision of Natural Gas for LTAR program under this benchmark, see the

company-specific calculation memoranda for these final results of redetermination. 59

        C. The Provision of Mining Rights for LTAR

        Pursuant to the CIT’s Remand Order, under respectful protest, 60 we determine not to

apply the cut-off date methodology in this case with respect to the Provision of Mining Rights

for LTAR program in Russia. Subsequent to the Remand Order, we requested and received

additional information on mining rights granted to PhosAgro and EuroChem prior to April 1,

2002. 61 This information was necessary for Commerce to determine the level of benefit that the

respondents received from the GOR’s provision of these mining rights. 62

        As noted in Commerce’s post-preliminary analysis decision memorandum, the GOR has

sovereign rights over subsoil resources in Russia, and it provides mining rights to access these

resources. 63 Thus, consistent with that finding and Commerce’s determination in Cold-Rolled


58
   In the Remand Order, the CIT stated that “if Commerce continues to add VAT and import duties to the natural gas
benchmark, for a product that is not imported, Commerce must also explain why the methodology should be
different for the phosphate rock benchmark.” See Remand Order at 41. Given that we have removed the Russian
VAT and import duties from the natural gas benchmark in this instance, we have not compared the two
methodologies.
59
   See EuroChem Draft Remand Calculation Memorandum; see also Memorandum, “Final Remand Redetermination
Calculations for PhosAgro,” dated concurrently with these final results of redetermination (PhosAgro Final Remand
Calculation Memorandum).
60
   See Viraj Group Ltd. v. United States, 343 F.3d 1371, 1376-77 (Fed. Cir. 2003). While Commerce respectfully
disagrees with the CIT, it complies with the CIT’s Remand Order under respectful protest.
61
   See EuroChem’s Letter, “EuroChem Response to Supplemental Questionnaire,” dated October 25, 2022
(EuroChem’s Remand SQR); see also PhosAgro’s Letter, “Response to Supplemental Questionnaire,” dated
October 25, 2022 (PhosAgro’s Remand SQR).
62
   On November 3, 2022, the petitioner submitted comments in which it requested that the respondents demonstrate
a sufficient relationship between reported costs and the phosphate mining and/or beneficiation operations at issue.
See Petitioner’s Letter, “Petitioner’s Deficiency Comments on JSC Apatit’s and Industrial Group Phosphorite LLC’s
Supplemental Questionnaire Responses,” dated November 3, 2022, at 3. However, the CIT’s Remand Order stated
that Commerce “can identify and measure subsidies from all mining rights using the same methodology applied to
the lone analyzed mining license.” See Remand Order at 39 (emphasis added). Accordingly, for these final results
of redetermination, we have relied on the information provided by EuroChem and PhosAgro to determine the level
of benefit that the respondents received under the program, and we have not changed our methodology from the
Final Determination. See Final Determination IDM at Comments 2c, 2e, and 2f.
63
   See Post-Preliminary Analysis Decision Memorandum at 3-4.


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Steel from Russia, we continue to determine that the GOR’s sale of mining rights to the

respondents constitutes a financial contribution in the form of a provision of a good within the

meaning of section 771(5)(D)(iii) of the Act. 64 In addition, while record evidence did not

indicate that the GOR’s provision of phosphate mining rights licenses to subsoil users in the

phosphate fertilizers industry was de jure specific, we found that there were only six recipients of

phosphate mining rights. 65 Based on this evidence, we found that this program was de facto

specific because there were only a limited number of users within the meaning of section

771(5A)(D)(iii)(I) of the Act. 66 Consistent with that finding and Commerce’s determination in

Cold-Rolled Steel from Russia, we continue to determine that the GOR’s sale of phosphate

mining rights is de facto specific within the meaning of section 771(5A)(D)(iii)(I) of the Act. 67

        Following the benefit calculation methodology that we used in the Final Determination,

we calculated the level of benefit that PhosAgro and EuroChem received from these mining

rights. 68 On this basis, we find that PhosAgro received a countervailable subsidy of 8.08 percent

ad valorem under the Provision of Mining Rights for LTAR program. 69 For EuroChem, we find

that it received no measurable benefit from the GOR’s provision of mining rights. 70 In the Final

Determination, we also determined that EuroChem received no measurable benefit under this

program. 71 Accordingly, we continue to find that EuroChem received no measurable benefit

under the program.


64
   Id. at 4-5; see also Cold-Rolled Steel from Russia IDM at 24.
65
   See Post-Preliminary Analysis Decision Memorandum at 5.
66
   Id.
67
   Id.; see also Cold-Rolled Steel from Russia IDM at 28.
68
   See Final Determination IDM at 10 and Comments 2c, 2e, and 2f; see also EuroChem Draft Remand Calculation
Memorandum; Memorandum, “Draft Remand Redetermination Calculations for PhosAgro PJSC,” dated November
18, 2022 (PhosAgro Draft Remand Calculation Memorandum); and PhosAgro Final Remand Calculation
Memorandum.
69
   See PhosAgro Final Remand Calculation Memorandum.
70
   See EuroChem Draft Remand Calculation Memorandum.
71
   See Final Determination IDM at 10.


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IV.       INTERESTED PARTY COMMENTS

          A. Calculation of Total Sales of EuroChem

EuroChem’s Comments

      •   Commerce’s Calculation of the EuroChem sales denominators is incorrect. 72
            o In its Remand Order, the CIT directed Commerce to, inter alia, adjust the final
               total sales calculation for EuroChem to the proper figures and explain the
               calculation. Commerce’s methodology involved using EuroChem’s post-
               preliminary determination questionnaire response (Post-Prelim QR) to add the
               sales of each affiliated company to Trading Rus back into the respective
               company’s total sales for 2019. This methodology, however, does not correct the
               previous error with respect to the calculation of the sales denominators.
            o First, by using the sales numbers reported in “Total Sales for CVD Purposes”
               from Exhibit 4, Commerce is using a sales value for each cross-owned affiliate
               that deducts all sales among all cross-owned affiliates. Simply adding the sales to
               Trading Rus to each of the three producers still eliminates sales that should not be
               eliminated to derive the total sales for this grouping. Commerce instead should
               start with the “Total” values from Exhibit 4 and deduct only those sales among
               the grouping of companies being considered.
            o Second, the “Total Sales” number that Commerce used for adding the Trading
               Rus sales—column C in Exhibit 3—is incorrect because it reflects sales not
               adjusted to FOB, as Commerce desires and requests in its pertinent
               questionnaires. Because Exhibit 4 reflects sales for each company “adjusted to
               FOB,” when considering the specific cross-owned company sales, Commerce
               should use column E in Exhibit 3, as that column reflects the “FOB Sales Value.”

Commerce’s Position:

          We disagree with EuroChem. In the investigation, Commerce explained that it calculated

total sales by combining all sales by EuroChem’s cross-owned subject merchandise producers

and input suppliers, less the intercompany sales among the eight subject merchandise producers

and input suppliers, as required by 19 CFR 351.525(b)(6)(ii) and (iv). 73 Commerce also

confirmed that: (1) MCC EuroChem and Trading Rus did not receive subsidies; and (2) sales by




72
     See EuroChem’s Draft Remand Comments at 2-6.
73
     See Preliminary Determination PDM at 5-6.


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Trading Rus should not be included in the subsidy rate calculations. 74 The CIT took no issue

with Commerce’s asserted methodology. 75

        However, Commerce’s calculations did not reflect this methodology. In the calculation

of intercompany sales, Commerce wrongly relied on a number provided by EuroChem that did

not include sales from the eight subject merchandise producers and input suppliers to Trading

Rus. 76 The calculations failed to follow Commerce’s stated methodology and artificially

increased the ad valorem rate by excluding the sales to Trading Rus from the total sales figures.

In a letter to the CIT, Commerce confirmed this error. 77 The CIT thus remanded this issue for

Commerce to provide a correct total sales number and explanation of its calculation.

        Commerce has provided in its final remand results the correct total sales number and

explanation of its calculation, as discussed above. As noted, the CIT took no issue with

Commerce’s methodology, 78 and stated that “although Commerce need not alter its stated

methodology for calculating Total Sales,” Commerce must “provide a correct Total Sales

number and explanation of its calculation” on remand. 79 Consistent with this directive,

Commerce applied its intended methodology by correcting the total sales number calculated for

EuroChem to include sales to Trading Rus by each of the responding cross-owned companies.

        Further, EuroChem argues “the ‘Total Sales’ number that Commerce used for adding the

{} Trading Rus sales—column C in Exhibit 3—is incorrect as it is sales not adjusted to {free on

board (FOB)}, as Commerce desires and requests in its pertinent questionnaires.” 80 As we

explained in the Draft Results of Redetermination, we “added the sales by each cross-owned


74
   Id.
75
   See Remand Order at 33.
76
   See Final Determination IDM at 8 (citing EuroChem’s December 7, 2020 SQR).
77
   See Remand Order at 33.
78
   Id.
79
   Id. at 44.
80
   See EuroChem’s Draft Remand Comments at 3.


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company to Trading Rus back into EuroChem’s total sales for 2019.” 81 For each responding

cross-owned company’s sales, we used the same sales denominators that we used in the

calculations for the Final Determination. 82 For sales by each responding cross-owned company

to Trading Rus, we used EuroChem’s reported sales to Trading Rus [xx xxx IIxxxxxxxx xx xxx

Ixxxxxxx xxxxxI III xxxxxxxxI] from its supplemental questionnaire response during the

investigation. 83 Thus, we relied on FOB sales data as reported by EuroChem in the Final

Determination and in these final results of redetermination. In its comments on the Draft Results

of Redetermination, EuroChem provided no evidence that the sales denominators we used in the

Draft Results of Redetermination were “not adjusted to FOB” and they did not elaborate on what

error they are seeking to correct. 84 Accordingly, we have made no changes to the calculations

based on EuroChem’s argument.

         B. Calculation of the Tier Three Natural Gas Benchmark

Petitioner’s Comments

     •   Commerce removed both Russian VAT and import duties from the benchmark,
         ostensibly to avoid double-counting; however, there is no double-counting issue with
         respect to Russian import duties. Rather, Commerce’s own reasoning in the Draft
         Remand Results dictates that Russian import duties continue to be included. Specifically,
         such import duties would be a condition of sale were the respondents to import such
         natural gas. Commerce should, therefore, continue to include the five percent import
         duty adjustment that the Government of Russia confirmed would be applicable to
         imported natural gas. 85

81
   See Draft Results of Redetermination at 6; see also EuroChem Draft Remand Calculation Memorandum at 1.
82
   See EuroChem Draft Remand Calculation Memorandum at 1 and Attachment 2; see also Memorandum, “Final
Determination Calculations for EuroChem Group,” dated February 8, 2021, at 2 and Attachment 2 (EuroChem Final
Determination Calculation Memorandum). EuroChem states that “Commerce appears to have taken the ‘Total
Sales for CVD Purposes’ from Exhibit 4 to EuroChem’s Post-Prelim QR (‘Exhibit 3’) (Cell I13 [II,III,III,III]).” See
EuroChem’s Draft Remand Comments at 2. This is the sales value that we used in the calculations for the Final
Determination, and EuroChem’s response identifies this value as “Adjusted to FOB.” See EuroChem Final
Determination Calculation Memorandum at Attachment 2; see also EuroChem’s December 7, 2020 SQR at Exhibit
4. Therefore, EuroChem’s claim that the Total Sales number “is not adjusted to FOB” is incorrect based on the
description in EuroChem’s own response.
83
   See EuroChem Draft Remand Calculation Memorandum at 1 and Attachment 2 (citing EuroChem’s December 7,
2020 SQR at Exhibit 1).
84
   See EuroChem’s Draft Remand Comments at 3.
85
   See Petitioner’s Draft Remand Comments at 10-11.


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EuroChem’s Comments

     •   Commerce should adjust the rate calculation for the provision of natural gas for LTAR to
         exclude EuroChem-Energo.
            o In the investigation, Commerce relied on 19 CFR 351.525(b)(6)(iv), which
                permits Commerce to attribute the benefit received by an input supplier whose
                production of inputs is primarily dedicated to the production of the downstream
                product by a cross-owned producer to the combined sales of the input and
                downstream products produced by both companies. However, EuroChem-Energo
                is not a producer of any input product. It instead supplies natural gas purchased
                from the St. Petersburg International Mercantile Exchange (SPIMEX). 86
            o In the recent countervailing duty investigation of urea ammonium nitrate (UAN)
                solutions from the Russian Federation, Commerce—based on the same
                information submitted in this case—declined to include EuroChem-Energo in the
                benefit calculations for the provision of natural gas for LTAR. Based on
                Commerce’s reasoning in UAN concerning EuroChem-Energo, and to ensure
                consistency between investigations involving the same entity under the provision
                of natural gas for LTAR and thus ensure an accurate subsidy rate, Commerce
                should remove EuroChem-Energo from the LTAR benefit calculations of
                EuroChem under the provision of natural gas program. 87

Commerce’s Position:

         A. Whether to Include Import Duties under the Tier Three Benchmark Calculation

         We disagree with the petitioner. Commerce finds that the petitioner’s benchmark

submission from the investigation demonstrates that in determining the “total tax” figures that

are included in the “total price” for the natural gas industry, both VAT and, in some cases, other

taxes such as excise taxes are included. 88 Therefore, while the petitioner argues that the “double-

counting” concern only applies to the Russian import VAT but not import duties, we find that the

IEA European export prices may in some cases include additional taxes other than VAT. 89 Thus,

the concern with respect to double-counting taxes included in the benchmark persists. Given the



86
   See EuroChem’s Draft Remand Comments at 7.
87
   Id. at 8.
88
   See Petitioner’s Letter, Phosphate Fertilizers from Russia: Petitioner’s Submission of Factual Information to
Measure the Adequacy of Remuneration, dated November 2, 2020, at Exhibit 14.
89
   Id.


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ambiguity in these additional taxes included in the benchmark, Commerce finds that the

reasonable approach is to continue to remove the Russian VAT and import duty from the

benchmark. As the IEA data are already inclusive of VAT and additional taxes, to avoid the

possibility of double-counting taxes and duties in this specific factual circumstance, and

consistent with the Court’s remand order, Commerce has continued to remove the Russian

import duties in its final remand calculations.

        B. Whether to Remove EuroChem-Energo from the Benefit Calculation

        We disagree with EuroChem. As an initial matter, EuroChem’s claim regarding

treatment of EuroChem-Energo seeks to question Commerce’s attribution findings, and what

purchases should be included in the numerator of our benefit calculation, and is not pertinent to

whether Russian import VAT and import duties should be included in the benchmark calculation.

Further, in the final determination of the investigation, EuroChem-Energo was treated

consistently with all the other affiliated companies in the EuroChem group, i.e., its purchases

were included in the numerator. No parties made arguments about its treatment before the final

determination and the attribution of EuroChem-Energo’s purchases was not an issue remanded to

Commerce. While Commerce may have treated the EuroChem-Energo differently in the

preliminary determination (unchanged in the final determination) of urea ammonium nitrate from

Russia (UAN), 90 the treatment of EuroChem-Energo here is consistent with the information that

is on the record of this proceeding. 91 It is well established that “{e}ach administrative review is

a separate exercise of Commerce’s authority that allows for different conclusions based on



90
   See Urea Ammonium Nitrate Solutions From the Russian Federation: Preliminary Affirmative Countervailing
Duty Determination and Alignment Of Final Determination With the Final Antidumping Duty Determination, 86 FR
68635 (December 3, 2021), and accompanying PDM at 30, unchanged in Urea Ammonium Nitrate Solutions From
the Russian Federation: Final Affirmative Countervailing Duty Determination, 87 FR 37836 (June 24, 2022), and
accompanying IDM at 10.
91
   See Preliminary Determination PDM at 6.


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different facts in the record.” 92 While Commerce may consider a different treatment for

EuroChem-Energo in future, based on the information presented in future segments, we find that

the facts and methodology in this case remain supported by evidence on the record. 93 As

previously noted, the CIT took no issue with Commerce’s methodology, in the specific factual

context of this investigation. EuroChem has proposed an unsolicited methodological change,

unrelated to whether Russian import VAT and import duties should be included in the

benchmark calculation. Accordingly, Commerce did not consider EuroChem’s proposal for the

final results of this remand. 94

         C. The Provision of Mining Rights for LTAR

Petitioner’s Comments

     •   Commerce relied on unsupported and unreliable mining cost data in the Draft Results of
         Redetermination. 95
         o JSC Apatit failed to reconcile its reported mining costs to its financial statements. As
            a result, Commerce has no way of assessing the validity of these costs. 96
         o Using such costs without more information would unlawfully depart from
            Commerce’s methodology in Phosphate Fertilizers From Morocco, where Commerce
            scrutinized the respondent’s reported costs and excluded certain costs from its mining
            rights cost buildup. 97
         o EuroChem also failed to properly support its reported costs as related to the
            phosphate mining and beneficiation operations of its affiliate KGOK. 98
         o Commerce should seek information from PhosAgro and EuroChem to correct these
            deficiencies, or it should rely on phosphate rock cost information from the petition. 99


92
   See Qingdao Sea-Line Trading Co. v. United States, 766 F.3d 1378, 1387 (Fed. Cir. 2014) (Qingdao) (internal
citation omitted); QVD Food Co. v. United States, 658 F.3d 1318, 1326 (Fed. Cir. 2011) (sustaining Commerce’s
decision to reject financial data used in a previous administrative review for surrogate valuation because new record
information suggested that the data previously used was unreliable). Thus, “{t}he question is whether the record
adequately supports the decision of {Commerce.}” Daewoo Elecs. Co. v. Int’l Union of Elec., Elec., Technical,
Salaried & Mach. Workers, AFL–CIO, 6 F.3d 1511, 1520 (Fed. Cir. 1993).
93
   See Preliminary Determination PDM at 6.
94
   See Changzhou Wujin Fine Chem. Factory Co., Ltd. v. United States, 701 F.3d 1367, 1374-75 (Fed. Cir. 2012).
95
   See Petitioner’s Draft Remand Comments at 3-9.
96
   Id. at 5-6.
97
   Id. at 7 (citing Phosphate Fertilizers From the Kingdom of Morocco: Final Affirmative Countervailing Duty
Determination, 86 FR 9482 (February 16, 2021) (Phosphate Fertilizers from Morocco), and accompanying IDM at
Comment 4, p. 24).
98
   Id. at 8-9.
99
   Id. at 7 and 9.


                                                         19
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      •   Commerce used an incorrect profit ratio for PhosAgro in its calculations. 100
          o To obtain PhosAgro’s profit ratio, the Department “divided its 2019 gross profit by its
            overall 2019 cost of sales.” The use of gross profit in the numerator is incorrect. 101
          o Commerce used “profit before tax” to calculate KGOK’s profit ratio for EuroChem’s
            calculations in this remand proceeding and in the underlying investigation, and it did
            likewise in Phosphate Fertilizers From Morocco. 102

PhosAgro’s Comments

      •   Commerce erred in the Draft Results of Redetermination by countervailing mining
          licenses obtained prior to April 1, 2002. 103
          o Rather than expand its analysis by identifying specific reforms that justify the use of a
              cut-off date, Commerce reversed its decision from the Final Determination and
              countervailed licenses obtained prior to April 1, 2002. 104
          o The CIT has not prohibited Commerce’s use of a cut-off date generally, and
              Commerce’s reasoning for using a cutoff date for the mining rights LTAR program in
              the Final Determination was consistent with its precedent. 105

      •   To calculate the benefit as accurately as possible, Commerce must use JSC Apatit’s cost
          of production for phosphate rock sold to third parties, not phosphate rock sold to all
          parties. 106
          o JSC Apatit reported its cost of production for both phosphate rock sold to third parties
              and phosphate rock sold to all parties (i.e., inclusive of inter-company sales). 107
          o Commerce’s general practice is to exclude intercompany sales in its benefit
              calculations. 108

      •   Commerce must revise its calculations to include JSC Apatit’s average per-unit
          transportation costs in total per-unit production costs. 109
          o For EuroChem’s calculations in the Final Determination and Draft Results of
              Redetermination, Commerce constructed a “per-unit delivered production cost” by
              adding EuroChem’s per-unit cost of transportation to its total per-unit cost. 110
          o Commerce did not use the same methodology for JSC Apatit in the Draft Results of
              Redetermination, and it therefore failed to compare per-unit delivered production
              costs to a delivered benchmark price. 111

100
    Id. at 9-10.
101
    Id. at 9 (citing PhosAgro Draft Remand Calculation Memorandum at 2).
102
    Id. (citing EuroChem Draft Remand Calculation Memorandum; and Phosphate Fertilizers from Morocco IDM at
27).
103
    See PhosAgro’s Draft Remand Comments at 3-4.
104
    Id. at 4.
105
    Id. (citing TMK IPSCO, 222 F.Supp.3d at 1317; and Cold-Rolled Steel from Russia IDM at 24).
106
    See PhosAgro’s Draft Remand Comments at 5-6.
107
    Id. at 5.
108
    Id. at 6 (citing Final Determination IDM at 72).
109
    Id. at 6-7.
110
    Id. at 6 (citing EuroChem Draft Remand Calculation Memorandum).
111
    See PhosAgro’s Draft Remand Comments at 7.


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          o If Commerce does not add the cost of transportation, then it will not perform an
            “apples to apples” benchmark comparison, which will skew PhosAgro’s CVD rate. 112

      •   Commerce erred by excluding additional costs that relate to extraction and the
          maintenance of mining licenses. 113
          o Commerce must account for all costs incurred to extract phosphate ore and maintain
             active mining licenses. 114
          o Specifically, Commerce included mineral extraction payments in its per-unit cost of
             production calculation, but it did not include environmental payments. Commerce
             should include these payments in JSC Apatit’s cost of production for phosphate
             rock. 115

      •   Commerce ignored the “negative benefit” that JSC Apatit received from mining rights
          licenses obtained after April 1, 2002. 116
          o JSC Apatit did not extract ore under licenses obtained after April 1, 2002, but it
              incurred costs to maintain those active licenses. 117
          o Commerce should add land rental payments and other production costs that it
              incurred for these licenses to JSC Apatit’s cost of production. 118

Commerce’s Position:

      A. Reliability and Usability of Respondents’ Mining Cost Data

          We disagree with the petitioner regarding the reliability and usability of PhosAgro’s and

EuroChem’s submitted cost data. As an initial matter, when considering relevant cost

adjustments, neither 19 CFR 351.511(a)(2)(iii) nor our 1998 Final Preamble 119 directs us to

undertake a cost analysis similar to what we would conduct in an antidumping duty

proceeding. 120 Our benefit calculation at tier 3, in this circumstance, compares the actual per-

unit cost buildup of respondents’ beneficiated phosphate rock to a market price for phosphate

rock. 121 We are investigating the GOR’s provision of mining rights for LTAR, but no market-


112
    Id.
113
    Id.
114
    Id. at 7-8.
115
    Id. at 8.
116
    Id.
117
    Id.
118
    Id. at 8-9.
119
    See Countervailing Duties; Final Rule, 63 FR 65348, 65378 (November 25, 1998) (1998 Final Preamble).
120
    See, e.g., section 773(b)(3) of the Act (Calculation of Cost of Production).
121
    See Final Determination IDM at Comment 2c.


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based price for mining rights to compare to the price of mining rights provided by the GOR is

available. Thus, in this tier 3 analysis, we are conducting a benefit analysis not on mining rights

per se, but on the value of the underlying good conveyed via the mining rights. 122

        Despite the petitioner’s contention that EuroChem’s and PhosAgro’s cost data are

unsupported and unusable, we see no basis in the record to doubt the veracity of EuroChem’s

and PhosAgro’s books and records upon which they relied to report these costs. We requested

that both companies report all costs incurred to mine phosphate ore and process the ore into

beneficiated phosphate rock during the POI, and both companies provided the information we

requested. 123 Further, both companies provided supporting documentation and tied their

reported cost information to their financial statements, as we requested. 124 Where possible,

Commerce will rely on a respondent’s reported information to determine the existence and the

amount of the benefit to the extent that such information is usable and verifiable. 125 No record

evidence leads us to doubt the reliability of respondents’ reported costs incurred to mine and

process phosphate ore into beneficiated phosphate rock. Additionally, no record evidence leads

us to conclude that the reported costs are unrelated to the mining and processing of phosphate

ore. Accordingly, we conclude that PhosAgro’s and EuroChem’s reported cost data are reliable

for use in the mining rights cost buildup for each company. 126




122
    Id.
123
    See EuroChem’s Remand SQR at 1-2 and Supplemental Exhibit 6; see also PhosAgro’s Remand SQR at 3-4 and
Exhibits REM-3 and REM-4.
124
    Id.
125
    See, e.g., Narrow Woven Ribbons with Woven Selvedge from the People’s Republic of China: Preliminary
Results of Countervailing Duty Administrative Review; 2016, 83 FR 50891 (October 10, 2018), and accompanying
PDM at “D. Provision of Synthetic Yarn for LTAR” (unchanged in Narrow Woven Ribbons with Woven Selvedge
from the People’s Republic of China: Final Results of Countervailing Duty Administrative Review; 2016, 84 FR
11052 (March 25, 2019)).
126
    See EuroChem Draft Remand Calculation Memorandum at Attachment 2; see also PhosAgro Final Remand
Calculation Memorandum at Attachment 2.


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        For example, the petitioner notes that “JSC Apatit reported [III I(xxxxxx)I I.II xxxxxxx

xx IIxxxxxxxxxxxI xx x xxxxxxxxx xx Ixxx xx Ixxxx xxx xxx xxxxxxxxx xxxx xxxxxxxxxx.

Ixxxxxx xxxx xxxxxxxxxxx, IIxxxxxxxI xxxxxx xxxx xxxxxxx xxxx xxxxxxxxxxxx xx, xx

xxxx, x xxxx xxxx xxxx xx xxxxxxxx xx xxxxxx xxxxxxxx xxxxx xxxx xxxxxxx ].” 127

However, JSC Apatit reported its [xxxx xx xxxxxxxxxx xx xxxxxxxx xx xxx xxxxxxxxxx

xxxxxx xx xxxx xxxxxxxxx xxx xxx xxxxxxx xxx xxxxxxxxx xxx xxxx xxxxxxxxx xxxx]. 128

Moreover, JSC Apatit provided information directly from its accounting system to demonstrate

that its accounting records were the source of its reported costs. 129 Given this record evidence,

and in the absence of evidence to the contrary, we have no basis to conclude that the [I.II

xxxxxxx xxxxxx xx xxxxxxxxxxxx] costs cited by the petitioner are [xxxxxxxxx xx III IxxxxxIx

xxxxxxxxxx xx xxxxxxxxx xxxx]. 130 As cited above, the petitioner argues that “[IxIxxxxxx

xxxx xxxxxxxxxxx, IIxxxxxxxI xxxxxx xxxx xxxxxxx xxxx xxxxxxxxxxxx xx, xx xxxx, x xxxx

xxxx xxxx xx xxxxxxxx xx xxxxxx xxxxxxxx xxxxx xxxx xxxxxxx].” 131 The central issue for

our analysis, however, is whether JSC Apatit records these [xxxxxxxxxxxx] costs as part of its

costs of production [xxx xxxxxxxxx xxx xxx xxxxxxxxx xxxx] in its normal books and records.

We find no basis on the record to conclude that JSC Apatit reported its [xxxxxxxxxxxx] costs in

a manner inconsistent with its normal books and records. Accordingly, we find it appropriate to

include these [xxxxxxxxxxxx] costs in the phosphate rock cost buildup for JSC Apatit and

subsequent benefit calculation pursuant to 19 CFR 351.511(a)(2)(iii).




127
    See Petitioner’s Draft Remand Comments at 6-7 (citing PhosAgro’s Remand SQR at Exhibit REM-3(2)).
128
    See PhosAgro’s Remand SQR at 3 and Exhibit REM-3.
129
    Id. at 4 and Exhibit REM-4.
130
    See Petitioner’s Draft Remand Comments at 6-7.
131
    Id. at 7.


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         Finally, contrary to the petitioner’s assertion, our methodology is consistent with our

methodology in Phosphate Fertilizers from Morocco. In that case, Commerce determined that

“the record does not contain sufficient evidence that would allow us to segregate and remove

those costs which are considered unrelated to mining operations.” 132 Commerce found “no

evidence on the record which would lead us to doubt the reliability of {the mandatory

respondent’s} reported direct costs” and “no evidence on the record to doubt these direct

expenses are related to mining costs.” 133 On this basis, Commerce relied on the respondent’s

reported costs in the phosphate rock production cost buildup. 134 Thus, consistent with Phosphate

Fertilizers from Morocco, we have continued to rely on EuroChem’s and PhosAgro’s reported

production costs for phosphate rock for these final results of redetermination.

      B. PhosAgro’s Profit Ratio Used in Calculations

         We agree with the petitioner. The CIT’s Remand Order stated that Commerce “can

identify and measure subsidies from all mining rights using the same methodology applied to the

lone analyzed mining license.” 135 Thus, as we explained in the Draft Results of

Redetermination, we intended to make no changes to our benefit calculation methodology that

we used for EuroChem’s lone analyzed mining license in the Final Determination. 136 Based on

a review of record information, however, we acknowledge that using PhosAgro’s 2019 gross

profit instead of profit before tax in the calculation of PhosAgro’s profit ratio for the Draft

Results of Redetermination represented a slight change in the benefit calculation methodology

that we used in the Final Determination and the Draft Results of Redetermination for respondent




132
    See Phosphate Fertilizers from Morocco IDM at Comment 4.
133
    Id.
134
    Id.
135
    See Remand Order at 39.
136
    See Draft Results of Redetermination at 12, n. 60.


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EuroChem. As we stated in EuroChem’s calculation memorandum for the Final Determination,

we divided KGOK’s “profit before tax” by its cost of goods sold to calculate its profit ratio. 137

This was consistent with our methodology in Phosphate Fertilizers from Morocco, in which we

calculated the respondent’s profit ratio based on “‘income before taxes’ (profit before tax),” and

Cold-Rolled Steel from Russia. 138 On this basis, we have used profit before taxes instead of

gross profit to calculate PhosAgro’s profit ratio for the Provision of Mining Rights for LTAR

benefit calculation for PhosAgro, which is consistent with Commerce’s calculation for

EuroChem and the Court’s Remand Order. 139

      C. Mining Licenses Received Prior to April 1, 2002

         We disagree with PhosAgro. The CIT concluded that Commerce’s cut-off methodology

“is inapplicable to the facts of this case, as Commerce can identify and measure subsidies from

all mining rights using the same methodology applied to the lone analyzed mining license. 140

Additionally, the CIT held that Commerce failed to provide substantial evidence to support its

decision to treat the date of Russia’s market economy designation as a cut-off for CVD law

applicability. 141 In the Remand Order, however, the CIT did not instruct Commerce to explain

why it was unable to countervail subsidies from licenses granted prior to April 1, 2002, in the

Final Determination regardless of any changes in response to the Remand Order. Rather, the

CIT instructed Commerce to either abandon its cut-off date methodology or explain why it is

unable to countervail recurring subsidies from licenses granted by the GOR prior to Russia’s

designation as a market economy. 142 As discussed in the “Analysis” section above, pursuant to


137
    See EuroChem Final Determination Calculation Memorandum at 3.
138
    See Phosphate Fertilizers from Morocco IDM at Comment 4 (citing Cold-Rolled Steel from Russia IDM at 4,
“Provision of Mining Rights for LTAR”).
139
    See PhosAgro Final Remand Calculation Memorandum at 2 and Attachment 2.
140
    See Remand Order at 39.
141
    Id.
142
    Id.


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the CIT’s Remand Order, we have determined, under protest, not to apply the cut-off date

methodology in this case with respect to the Provision of Mining Rights for LTAR program in

Russia. Accordingly, given that our redetermination complies with the CIT’s instructions in the

Remand Order, we have not revisited or further elaborated on our decision in the Final

Determination not to countervail subsidies from licenses granted prior to April 1, 2002. 143

      D. JSC Apatit’s Phosphate Rock Delivered to Third Parties

         We disagree with PhosAgro. Citing the Final Determination IDM, PhosAgro states that

“{i}t is Commerce’s general practice to exclude intercompany sales in its benefit

calculations.” 144 Commerce’s exclusion of intercompany sales, however, relates to the

attribution of calculated subsidy benefits pursuant to the subsections of 19 CFR 351.525(b)(6). 145

PhosAgro’s comment, by contrast, relates to the basis of the per-unit cost buildup for

beneficiated phosphate rock that Commerce is using to calculate the benefit amount under this

program. As discussed above, our benefit calculation pursuant to 19 CFR 351.511(a)(2)(iii) for

this program compares the actual per-unit cost buildup of respondents’ beneficiated phosphate

rock to a market price for phosphate rock. 146 The exclusion of intercompany sales from the

denominator of a subsidy rate calculation pursuant to the subsections of 19 CFR 351.525(b)(6) is

not pertinent to the costs that Commerce will include to value mining rights received from the

GOR under this program pursuant to 19 CFR 351.511(a)(2)(iii).




143
    See Final Determination IDM at Comment 2d.
144
    See PhosAgro’s Draft Remand Comments at 6 (citing Final Determination IDM at 72).
145
    See, e.g., Crystalline Silicon Photovoltaic Cells, Whether or Not Assembled Into Modules, From the People’s
Republic of China: Final Results and Partial Rescission of Countervailing Duty Administrative Review; 2019, 87
FR 40491 (July 7, 2022), and accompanying IDM at Comment 16; see also Certain Vertical Shaft Engines Between
225cc and 999cc, and Parts Thereof From the People’s Republic of China: Final Affirmative Countervailing Duty
Determination and Final Negative Critical Circumstances Determination, 86 FR 1933 (January 11, 2021), and
accompanying IDM at Comment 25.
146
    See Final Determination IDM at Comment 2c.


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         Regardless of the applicability of Commerce’s practice with respect to sales

denominators, the core issue that PhosAgro has raised is whether it received a countervailable

benefit from beneficiated phosphate rock that it sold through intercompany transactions. 147 We

find no basis to exclude this phosphate rock from the benefit calculations. As we stated in the

Post-Preliminary Analysis, “as in Russia Cold-Rolled Steel, we consider the calculation of a

benefit under this program to be not on the value of the mining rights per se, but on the value of

the underlying good conveyed via the mining rights, and specifically any benefit from such good

extracted during the relevant period under examination.” 148 The fundamental goal of this benefit

calculation is to determine an accurate per-unit cost for JSC Apatit’s production of phosphate

rock. Whether JSC Apatit eventually sells that phosphate rock to “third parties” or to related

companies, it has incurred costs in its production that Commerce should account for to conduct

an accurate comparison with a benchmark price. Excluding phosphate rock that JSC Apatit sold

through intercompany transactions effectively treats the value of the underlying good extracted

via the mining rights (i.e., phosphate ore) as irrelevant in certain cases. When JSC Apatit mines

phosphate ore under the GOR’s provision of mining rights, processes the ore into beneficiated

phosphate rock, and sells the phosphate rock, it receives a benefit if the per-unit cost is less than

the benchmark price, regardless of whether it sells processed phosphate rock to an

“intercompany” party or a third party.

         In the Final Determination, we “divide{d} the total cost of production incurred in 2019

by the total amount of phosphate rock produced by KGOK during 2019 to obtain KGOK’s per-




147
    See PhosAgro’s Draft Remand Comments at 5 (stating that “JSC Apatit provided its cost of production of both
phosphate rock sold to third parties (i.e., excluding intercompany sales) and rock sold to all parties (i.e., inclusive of
inter-company sales.”).
148
    See Post-Preliminary Analysis at 4 (citing Cold-Rolled Steel from Russia IDM at 24).


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unit production costs during the POI.” 149 PhosAgro provided no basis for us to depart from this

methodology by using a subset of production costs and quantity of phosphate rock produced in

the benefit calculation, as opposed to total production costs and quantity produced. Additionally,

in our supplemental questionnaire released after the CIT’s Remand Order, we instructed

PhosAgro to report all costs incurred to mine phosphate ore and process phosphate ore into

beneficiated phosphate rock during the POI. 150 PhosAgro reported its production costs for

phosphate rock and all individual cost elements on this basis. 151 PhosAgro identified no

evidence that would lead us to conclude that its reported production costs, or any portion thereof,

are unusable in the benefit calculations. 152 Accordingly, we are continuing to use JSC Apatit’s

total production costs for phosphate rock sold to all parties (i.e., inclusive of intercompany sales)

in the benefit calculations.

        As a final matter, PhosAgro stated that it “reported its cost of production for both

phosphate rock sold to third parties and rock sold to all parties (i.e., inclusive of inter-company

sales).” 153 However, we do not find that PhosAgro adequately reported JSC Apatit’s cost of

production for phosphate rock sold to third parties. In our supplemental remand questionnaire to

PhosAgro, we instructed PhosAgro to provide charts detailing all costs to mine phosphate ore

and process the ore into beneficiated phosphate rock during the POI. 154 In Exhibit REM-3 of

PhosAgro’s supplemental questionnaire response, PhosAgro provided [xxxx xxxxxxxxxxx xxx

III IxxxxxIx xxxx xx xxxxx xx xxxxxxxxx xxxx xxxx xx xxx xxxxxxx xxxxxx xxx III]. 155



149
    See Final Determination IDM at 10.
150
    See Commerce’s Letter, “Supplemental Questionnaire,” dated October 14, 2022 (PhosAgro Remand
Supplemental Questionnaire), at Attachment I.
151
    See PhosAgro’s Remand SQR at 3-4 and Exhibits REM-3 and REM-4.
152
    Id. at 2-4.
153
    See PhosAgro’s Draft Remand Comments at 5 (citing PhosAgro’s Remand SQR at 3-4 and Exhibit REM-3).
154
    See PhosAgro Remand Supplemental Questionnaire at Attachment I.
155
    See PhosAgro’s Remand SQR at Exhibit REM-3.


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PhosAgro did not, however, provide [xxx xxxx xxxxxxxxx xx xxxxx xxx xxxxxxxxx xxxx xxxx

xxxx xx xxxxx xxxxxxx]. 156        Thus, in addition to finding no factual basis to use only JSC

Apatit’s cost of production for phosphate rock sold to third parties, we also find that PhosAgro

did not provide information that would have been necessary for any such analysis. Accordingly,

we have made no changes to the calculations from the Draft Results of Redetermination based on

PhosAgro’s argument.

      E. JSC Apatit’s Per-Unit Transportation Costs

         We agree with PhosAgro that we calculated a “per-unit delivered production cost,”

inclusive of transportation costs, for the Provision of Mining Rights for LTAR program for

EuroChem. 157 To determine the benefit that EuroChem received, we compared this “per-unit

delivered production cost” to the phosphate rock benchmark. 158 Therefore, while we agree that

including transportation costs in JSC Apatit’s cost of production buildup for phosphate rock is

appropriate, based on the information submitted by PhosAgro, we find that the per-unit

phosphate rock production costs that we used in the Draft Results of Redetermination were

already inclusive of transportation costs. Specifically, Exhibit REM-3 of PhosAgro’s

supplemental questionnaire response shows that JSC Apatit [xxxxxxxx IIxxxxxxxxxxxxx

IxxxxxxxI xxx xxxxxxxxxx xxx-xxxxxxxxxx (x.x., IIxxxxxx xxxxxxxxI xxx IIxxxx xxx

xxxxxxx xxxxxxxxx xxxxxxxxI) xx xxxx xx xxx xxxx xx xxxxx xxx xxxxxxxxx xxxx xx xxx

xxxxxxxxxx xxxxxx]. 159 We relied on JSC Apatit’s cost information in this exhibit in the Draft

Results of Redetermination. 160


156
    Id.
157
    See PhosAgro’s Draft Remand Comments at 6-7 (citing EuroChem Draft Remand Calculation Memorandum);
see also EuroChem Final Determination Calculation Memorandum at 4.
158
    See EuroChem Draft Remand Calculation Memorandum at 2-3; see also EuroChem Final Determination
Calculation Memorandum at 4.
159
    See PhosAgro’s Remand SQR at Exhibit REM-3.
160
    See PhosAgro Draft Remand Calculation Memorandum at 2.


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         PhosAgro did not address this information in its comments on the Draft Results of

Redetermination. 161 Based on the information in PhosAgro’s response, we find that including

the additional transportation costs JSC Apatit reported in Exhibit REM-1 of its supplemental

questionnaire response would result in double counting of these costs. 162 Thus, the benefit

calculations for PhosAgro are consistent with our stated methodology of using “per-unit

delivered production costs.” 163

      F. JSC Apatit’s Costs Related to Extraction and Maintenance of Mining Licenses

         We agree with PhosAgro. In the Final Determination, we “divide{d} the total cost of

production incurred in 2019 by the total amount of phosphate rock produced by KGOK during

2019” to calculate the benefit for EuroChem for this program. 164 Environmental compliance

expenses that JSC Apatit incurred to produce phosphate rock during the POI are therefore

appropriate to include in JSC Apatit’s cost of production buildup. PhosAgro reported these

expenses in the completed Mining Rights Template in its supplemental questionnaire

response. 165 Additionally, PhosAgro provided supporting documentation for these payments. 166

Based on the record information that PhosAgro provided, we find it appropriate to include these

expenses as part of JSC Apatit’s total cost of production for phosphate rock.

         Additionally, PhosAgro explained that the environmental payments were not included in

JSC Apatit’s reported cost of production because JSC Apatit records the payments separately in

its accounting system. 167 We find no evidence in PhosAgro’s supplemental questionnaire


161
    See PhosAgro’s Draft Remand Comments at 6-7.
162
    Id. at 7 (citing PhosAgro’s Remand SQR at Exhibit REM-1).
163
    See EuroChem Draft Remand Calculation Memorandum at 2; see also PhosAgro Draft Remand Calculation
Memorandum at 3.
164
    See Final Determination IDM at 10.
165
    See PhosAgro’s Remand SQR at Exhibit REM-1.
166
    Id. at 4 and Exhibit REM-6.
167
    See PhosAgro’s Draft Remand Comments at 7, n. 6 (citing PhosAgro’s Remand SQR at Exhibits REM-1 and
REM-3).


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response to indicate that JSC Apatit already included these environmental expenses in its

reported cost of production. 168 As such, we find no evidence to indicate that adding these

expenses would result in double counting. Accordingly, for these final results of

redetermination, we have included the environmental payments that JSC Apatit made during the

POI in its production cost buildup for phosphate rock.

      G. Offset for “Negative Benefits”

         We disagree with PhosAgro regarding offsets for “negative benefits.” 169 Commerce has

addressed and rejected similar arguments in other proceedings. 170 In a subsidy analysis, a benefit

is either conferred or not conferred, and a positive benefit cannot be masked or otherwise offset

by “negative benefits.” 171 There is no offsetting credit for mining licenses that did not provide a

subsidy benefit to PhosAgro, including offsets for costs that PhosAgro incurred to maintain

licenses under which it did not extract phosphate ore during the POI. 172 Such an adjustment is

not contemplated under the statute and is inconsistent with Commerce’s practice. 173

         The Act defines the “net countervailable subsidy” as the gross amount of the subsidy less

three statutorily prescribed offsets: (1) the deduction of application fees, deposits or similar

payments necessary to qualify for or receive a subsidy; (2) accounting for losses due to deferred

receipt of the subsidy; and (3) the subtraction of export taxes, duties or other charges intended to



168
    See PhosAgro’s Remand SQR at Exhibits REM-1 and REM-3.
169
    See PhosAgro’s Draft Remand Comments at 8.
170
    See, e.g., Wood Mouldings and Millwork Products From the People’s Republic of China: Final Affirmative
Countervailing Duty Determination, 86 FR 67 (January 4, 2021), and accompanying IDM at Comment 8 (Wood
Mouldings from China); see also Crystalline Silicon Photovoltaic Cells, Whether or Not Assembled Into Modules,
from the People’s Republic of China: Final Results of Countervailing Duty Administrative Review and Rescission
of Review, in Part; 2016, 84 FR 45125 (August 28, 2019), and accompanying IDM at Comment 8; and Certain
Softwood Lumber Products from Canada: Final Affirmative Countervailing Duty Determination, and Final
Negative Determination of Critical Circumstances, 82 FR 51814 (November 8, 2017) (Softwood Lumber from
Canada), and accompanying IDM at Comments 13 and 15.
171
    See, e.g., Wood Mouldings from China at Comment 8; see also Softwood Lumber from Canada at Comment 15.
172
    See PhosAgro’s Draft Remand Comments at 8.
173
    See, e.g., Wood Mouldings from China at Comment 8; see also Softwood Lumber from Canada at Comment 15.


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offset the countervailable subsidy. 174 Both Congress and the courts have confirmed that these

are the only offsets Commerce is permitted to make under the statute. 175 Offsetting the

calculated benefit from active mining licenses during the POI with a “negative benefit” from

inactive licenses is not among the enumerated permissible offsets. Therefore, we have made no

modifications to the benefit calculations for alleged “negative benefits.”

V.       FINAL RESULTS OF REDETERMINATION

         Consistent with the Remand Order, we reconsidered: (1) our calculation of the total sales

for EuroChem; (2) our calculation of the natural gas benchmark; and (3) our analysis of the

mining rights for LTAR program. Based on the foregoing explanations, we revised the subsidy

rate calculations for the mandatory respondents EuroChem and PhosAgro, as well as the

calculation of the all-others rate. If the CIT affirms these final results of redetermination, we

intend to issue a notice of the court’s decision 176 and of amended final determination, which will

include the revised CVD rates for the POI of January 1, 2019, through December 31, 2019, as

listed in the chart below. 177




174
    See section 771(6) of the Act.
175
    See S. Rep. No. 96-249, at 86 (1979), reprinted in 1979 U.S.C.C.A.N. 381, 472 (“{t}he list is narrowly drawn
and is all inclusive.”); see also Kajaria Iron Castings Pvt. Ltd. v. United States, 156 F.3d 1163, 1174 (Fed. Cir.
1998) (“we agree that 19 U.S.C. § 1677(6) provides the exclusive list of permissible offsets ....”); Geneva Steel v.
United States, 914 F.Supp. 563, 609 (CIT 1996) (explaining that section 771(6) contains “an exclusive list of offsets
that may be deducted from the amount of a gross subsidy.”).
176
    In its decision in Timken, as clarified by Diamond Sawblades, the U.S. Court of Appeals for the Federal Circuit
held that, pursuant to section 516A(e) of the Act, Commerce must publish a notice of a court decision not “in
harmony” with a Commerce determination and must suspend liquidation of entries pending a “conclusive” court
decision. See Timken Co. v. United States, 893 F.2d 337, 341 (Fed. Cir. 1990); Diamond Sawblades Mfrs. Coalition
v. United States, 626 F.3d 1374 (Fed. Cir. 2010).
177
    For details on the revised calculations for these final results of redetermination, see PhosAgro Final Remand
Calculation Memorandum and Memorandum, “Calculation of the ‘All-Others’ Rate,” dated concurrently with these
final results of redetermination. EuroChem’s subsidy rate calculations remain unchanged from the Draft Results of
Redetermination. See EuroChem Draft Remand Calculation Memorandum.


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                                      Subsidy Rate in Final           Subsidy Rate in Final Remand
           Company                 Determination 178 (percent ad       Redetermination (percent ad
                                            valorem)                            valorem)

 EuroChem                                          47.05                          23.77

 PhosAgro                                           9.19                          14.30

 All Others                                        17.20                          16.30


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       Siq n ed by: LI SA WANG
      Lisa W. Wang
      Assistant Secretary
       for Enforcement and Compliance




178
      See Final Determination, 86 FR at 9480.


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